                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL ACTION NO. 3:03CR49-3

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                      ORDER
                                    )
RONALD MCILWAIN,                    )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER IS BEFORE THE COURT on Request for Modification of the

Conditions of Supervised Release (Document No. 244) filed June 8, 2012. Having carefully

considered the motion and evidence presented, the court makes the following ruling.

       IT IS, THEREFORE, ORDERED that the defendants conditions of release are modified

as follows:

       The defendant shall submit to home detention, with electronic monitoring or other
       location verification system, for a period of two (2) months at the direction of the U.S.
       Probation Officer. During this time, the defendant shall remain at his/her residence
       except for employment and other activities approved in advance by the probation officer.
       The defendant shall maintain a telephone at the place of residence without any "call
       forwarding," "caller ID," "call waiting," modems, answering machines, cordless
       telephones or other special services for the above period. The defendant may be required
       to wear an electronic device or submit to another location verification system and shall
       observe the rules specified by the Probation Officer. The defendant shall not be required
       to pay the costs of electronic monitoring. The United States Probation Office is further
       ordered to reduce the defendant’s urine testing frequency.

Such modifications are to be effectuated forthwith.


                                                  Signed: November 29, 2012




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